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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                                CRIMINAL NO.

              v.                                         GRAND JURY ORIGINAL

 MATTHEW NORMAN BALLEK,                                  VIOLATIONS:

                   Defendant.                            18 U.S.C. § 2252(a)(2), (b)(1)
                                                         (Distribution of Child Pornography)


                                                      FILED UNDER SEAL



 UNITED STATES’ MOTION TO SEAL INDICTMENT AND RELATED MATERIALS

       The United States of America, by and through its undersigned counsel, respectfully moves

for an order to place and maintain the Indictment under seal until the arrest warrant is executed.

The United States further requests that the Court seal this Motion to Seal, the proposed Order

attached to this Motion, and any Order granting this Motion. In support thereof, the United States

respectfully submits:

       1.      The defendant, Matthew Norman Ballek, is currently in the community and has not

been made aware that he has been indicted and that the government is seeking to arrest and

prosecute him. The public disclosure of the government’s prosecution could thus result in the

defendant’s flight from prosecution before his arrest.

       2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to court proceedings. But this presumption is overcome where

“(1) closure serves a compelling interest; (2) there is a substantial probability that, in the absence

of closure, this compelling interest would be harmed; and (3) there are no alternatives to closure

that would adequately protect the compelling interest.” Id. at 290.
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       3.      In this matter, the United States has a compelling interest in ensuring that the

defendant does not learn of this prosecution before there is an opportunity to arrest him. A limited

sealing order ensuring that filings including the Indictment are not accessible to the public—only

until his arrest—is narrowly tailored to serve this interest.

       4.      Furthermore, the United States respectfully submits that complying with the normal

notice requirements of Washington Post would defeat the purpose of the motion to seal. Persons

who know the criminal justice system also know that docketing a motion to seal, or a resulting

sealing order, means that the defendant has been charged with a crime and that the government

intends to arrest him. Thus, if this Motion or a sealing order were to become public, it would be

the same as making public the Indictment.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing the Clerk of Court to place and maintain the Indictment under seal until execution of the

arrest warrant. The United States further requests that the Court seal this Motion to Seal, the

proposed Order attached to this Motion, and any Order granting this Motion.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

Dated: February 1, 2024                By:     /s/ Paul V. Courtney
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